                 IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF PUERTO RICO


                                                        Case No. 19-01384 (ESL Ch. 11)
 IN RE:

 CARLOS ORTIZ COLÓN
 MARIBEL RODRÍGUEZ RÍOS

 Debtors
 ________________________________________
                                                        Case No. 19-01386 (ESL Ch. 11)
 IN RE:

 VAQUERÍA ORTIZ RODRÍGUEZ, INC.,

 Debtor


               OBJECTION TO MOTIONS REQUESTING ENTRY
              OF ORDER AUTHORIZING LEASE OF MILK QUOTA

TO THE HONORABLE COURT:

       NOW COMES the Puerto Rico Milk Industry Regulatory Office (ORIL under its

Spanish language acronym), by and through the undersigned attorneys and for this

Objection to Motions Requesting Entry of Order Authorizing Lease of Milk Quota does

state and allege as follows.

       In the administratively consolidated captioned cases, the debtors Carlos Ortiz,

Maribel Rodríguez and Vaquería Ortiz Rodríguez (together “Debtors”) have filed two

motions requesting entry of an order to authorize them to lease a total of 20 thousand

quarts of milk production quota to two other licensed farmers. See Dkt. #s 52 and 53.

ORIL does not object to the Debtors’ requests insofar as the total amount of the leases do

not exceed 5,000 quarts of milk quota. But, ORIL does object to any request that would
surpass the legal limit since there has been no showing of the exceptional circumstances

under Puerto Rico law that would permit leases of quota that exceed thrice the legal limit.

       According to Section 12 of Puerto Rico Milk Industry Production Quota

Transactions Registry Act (P.R. Laws Ann. Tit. 5, Sec. 1136), a “milk producer may lease

a portion [of] or the total amount of his quota up to a maximum of five thousand (5,000)

quarts of milk every fourteen (14) days, provided that both the lessor and the lessee

possess a valid license to operate a first class dairy issued by [ORIL].” Section 12 further

provides that “[l]easing quotas of more than five thousand (5,000) quarts of milk every

fourteen (14) days is hereby prohibited, except in those cases where the dairy production

is affected by any catastrophic event or by any cattle disease.” Similarly, Regulation

8660 tracks the language of the Production Quota Transactions Registry Act in that “a

farmer may lease up to a maximum of 5,000 quarts…”.                       Reg. 8660, Sec. 7(B)(1).

Likewise, the quoted regulatory authority provides that “[i]t will only be allowed to be

leased in excess of 5,000 quarts when an unforeseen event as defined in th[e] Regulation

occurs or in active cases before the U.S. Bankruptcy Court.” Id., (B)(3). With regards to

cases before this Court, the licensed producer must demonstrate that his leasing of quota

in excess of 5,000 quarts serves the purpose of fulfilling the Plan. Id., (B)(8). Although

Debtors’ motions state that the income generated by the proposed leases would be used to

pay down debt, they make no showing of the exceptional circumstances of the law.

       ORIL’s records show that from January to December 2018 Debtors’ dairy farm’s

production has been relatively compliant with the quality parameters for Grade A milk.

Out of 21 milk samples tested in that time period, only four samples have shown a non-

compliant parameter.    Exhibit 1.      Debtors even obtained a commendation from the




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Administrator that dispensed with the license renewal fee. Exhibit 2. This year, only 6

samples have been taken to date, with two showing a non-compliant parameter, for which

no decommission had been ordered. Exhibit 3. Thus, the Debtors’ herd is in relatively

good health and produces regulatory compliant raw milk. An exception for cattle disease

or herd health would be unwarranted.

        ORIL’s records show that Debtors own 93,010 quarts of milk quota. Exhibit 4

demonstrates that from January 2018 through the filing of this objection, Debtors’ raw

milk production has been liquidated at the first liquidation level. ORIL’s records also

show that from the liquidation period ending on January 9, 2019 through the liquidation

period that ended on June 26, 2019, Debtors’ dairy farm produced a total of 370,301

quarts of raw milk, with a liquidation value of $287,759.03. Exhibit 4. That is an

average of 28,484.69 quarts of raw milk per bi-weekly period, paid at an average of

$22,135.31 per bi-weekly period. Debtors produce roughly a third of their owned quota.

The quota to production ratio assures that the milk is liquidated at the first level, thus

assuring that the price Debtors’ receive per quart produced is the highest. An exception

to increase production and/or income is also unwarranted since Debtors have enough

quota to increase production and increase income and still be compensated within the

highest liquidation levels.

        There are only two monthly operating reports on record as of the date of the filing

of this motion. But, these demonstrate that the current income levels allow the Debtors to

operate the business, make payments on their obligations to creditors (be it by direct pay

or by cessions 1), pay for personal expenses and have a positive balance at the end of the


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  ORIL is seeking information related to the voluntary retentions to Debtors’ milk receipts in order to
compare them with what is reported in the two MORs. Since Debtors’ have requested to shorten the



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month. See Dkt. #s 44 and 45. Although Dkt. #45 shows a small negative balance, it is

largely due to a large insurance premium payment.

        WHEREFORE, ORIL respectfully requests that this Honorable Court GRANT

Debtors’ leave to lease no more than 5,000 quarts of milk production quota, and DENY

Debtors’ motion for leave to lease in excess thereof.

        RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico this 11th day of July, 2019.

        WE HEREBY CERTIFY that of this date a true and exact copy of this motion
has also been electronically filed with the Clerk of the Bankruptcy Court using the
CM/ECF system which will send notification of such filing to all attorneys of record
registered in the use of the CM/ECF system.

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                                                       By: s/ Edward W. Hill
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objection period to 7 days, ORIL has filed this general objection without the benefit of the identified
information and requests that the Honorable Court allow it to supplement the instant objection if necessary.



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